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UNITED STATES DISTRICT COURT                                     DOC#: _ _ _ _ _ __
SOUTHERN DISTRICT OF NEW YORK                                    DATE FILED: 11126/2014
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SAGI GENGER,

                                    Plaintiff,                           14-cv-5683 (KBF)
                           -v-
                                                                             ORDER
ORLY GENGER,

                                    Defendant.

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KATHERINE B. FORREST, District Judge:

         The Court intends to decide this case on summary judgment. The decision

will be set out in a separate Opinion & Order. Accordingly, the December 15, 2014

trial date and all other dates in this matter are ADJOURNED.

         SO ORDERED.

Dated:            New York, New York
                  November 26, 2014


                                                                     KATHERINE B. FORREST
                                                                     United States District Judge
